              Case 21-42941-elm7                      Doc 43         Filed 08/26/22 Entered 08/26/22 15:52:06                                 Desc  Main1
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                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                 ASSET CASES
Case No.:                    21-42941-ELM                                                            Trustee Name:                             Roddrick B. Newhouse
Case Name:                   TRADE EXPLORATION CORPORATION                                           Date Filed (f) or Converted (c):          12/21/2021 (f)
For the Period Ending:       6/30/2022                                                               §341(a) Meeting Date:                     01/19/2022
                                                                                                     Claims Bar Date:                          05/11/2022

                         1                                 2                       3                          4                         5                       6

                 Asset Description                      Petition/         Estimated Net Value              Property               Sales/Funds             Asset Fully
                  (Scheduled and                      Unscheduled        (Value Determined by              Abandoned             Received by the       Administered (FA) /
             Unscheduled (u) Property)                   Value                  Trustee,             OA =§ 554(a) abandon.           Estate              Gross Value of
                                                                        Less Liens, Exemptions,                                                         Remaining Assets
                                                                           and Other Costs)

 Ref. #
1       JPMorgan Chase Checking                        $295,890.56                     $295,890.56                                      $295,890.56                      FA
        6266
2       Legal Fees to Duer Wanger III                          $0.00                     Unknown                                              $0.00                 Unknown
3       2018 Chevrolet Suburban VIN             (u)      $57,500.00                     $57,500.00                                       $57,500.00                      FA
        ending 5111


TOTALS (Excluding unknown value)                                                                                                            Gross Value of Remaining Assets
                                                       $353,390.56                     $353,390.56                                      $353,390.56                  $0.00




     Major Activities affecting case closing:
      08/09/2022     Trustee is in the process of liquidating scheduled/unscheduled assets.


 Initial Projected Date Of Final Report (TFR):           12/31/2022                                                    /s/ RODDRICK B. NEWHOUSE
 Current Projected Date Of Final Report (TFR):                                                                         RODDRICK B. NEWHOUSE
